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 1   DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN135059
 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (661)326-0857
     Fax: (661)326-0936
 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     RAFAEL LEGORRETA
 6

 7                         IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                   ) Case No.:1:14-CR-00269 AWI-BAM
10   UNITED STATES OF AMERICA,                     )
                                                   )
11                 Plaintiff,                      ) STIPULATION AND ORDER TO
                                                   ) CONTINUE STATUS CONFERENCE
12          vs.                                    )
                                                   )
13
     RAFAEL LEGORRETA ,                            )
                                                   )
14                 Defendant                       )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   BARBARA A. MCAULIFFE AND BRIAN DELANY, ASSISTANT UNITED STATES
17   ATTORNEY:
18          COMES NOW Defendant, RAFAEL LEGORRETA, by and through his attorney of
19   record, DAVID A. TORRES hereby requesting that the Status Conference currently set for
20   Monday, July 27, 2015 be continued to Monday, August 24, 2015.
21          I am currently in a multi-defendant trial in the mapper of People v. Benjamin Jimenez
22   DF011554B, in Kern County Superior Court. Trial is anticipated to last approximately three
23   weeks. I have spoken to all co-counsel and AUSA Brian Delaney, and they have no objection to
24   continuing the Status Conference.
25
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 1          The parties also agree the delays resulting from the continuance shall be excluded in the

 2   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

 3           IT IS SO STIPULATED.

 4                                                               Respectfully Submitted,

 5   DATED:7/22/15                                               /s/ David A Torres          ___
                                                                 DAVID A. TORRES
 6                                                               Attorney for Defendant
                                                                 RAFAEL LEGRRETA
 7

 8
     DATED: 7/22/15                                              /s/Marc Days__________ ________
 9                                                               MARC DAYS
                                                                 Attorney for Julio Perez
10

11   DATED:7/22/15                                               /s/Kevin Little_____ ________
                                                                 KEVIN LITTLE
12                                                               Attorney for Francisco Rivera
13
     DATED: 7/22/15                                              /s/Brian K. Delaey____ ________
14
                                                                 BRIAN DELANEY
                                                                 Assistant U.S. Attorney
15

16
                                                ORDER
17

18          IT IS SO ORDERED that the 3rd Status Conference hearing for all three defendants is

19   continued from July 27, 2015 to August 24, 2015 at 1:00PM before Judge McAuliffe. Time is

20   excluded pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
     IT IS SO ORDERED.
21

22      Dated:    July 23, 2015                              /s/ Barbara A. McAuliffe              _
                                                      UNITED STATES MAGISTRATE JUDGE
23

24

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